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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 15-21702-CIV-LENARD/WHITE

 DEXTER EARL KEMP,

        Movant,

 v.

 UNITED STATES OF AMERICA,

       Respondent.
 ________________________________/

  ORDER ADOPTING THE REPORT OF THE MAGISTRATE JUDGE (D.E. 27),
  DISMISSING MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR
        CORRECT SENTENCE (D.E. 1), DENYING CERTIFICATE OF
                APPEALABILITY, AND CLOSING CASE

        THIS CAUSE is before the Court on the Report of Magistrate Judge Patrick A.

 White, (“Report,” D.E. 1), issued February 19, 2016, recommending that the Court

 dismiss as time-barred Movant Dexter Earl Kemp’s Motion under 28 U.S.C. § 2255 to

 Vacate, Set Aside or Correct Sentence, (D.E. 1), filed May 4, 2015. Movant filed

 Objections on April 11, 2016. (D.E. 30.) Upon review of the Report, Objections, and the

 record, the Court finds as follows.

        Movant’s criminal case arose from an investigation by the Miami Gardens Police

 Department into sales of crack cocaine, cocaine, marijuana, and MDMA/Ecstasy. See

 United States v. Gray, 544 F. App’x 870, 874 (11th Cir. 2013). As a result of the

 investigation, on November 9, 2010, Movant was charged, along with eight co-

 defendants, in a Superseding Indictment. (See United States v. Kemp, Case No. 10-
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 20410-Cr-Lenard, D.E. 460 (S.D. Fla. Nov. 9, 2010).)1 Movant was specifically charged

 with conspiracy to possess with the intent to distribute fifty grams or more of a mixture

 and substance containing a detectable amount of cocaine base, commonly known as

 “crack,” five hundred grams or more of a mixture and substance containing a detectable

 amount of cocaine, and fifty kilograms or more of marijuana and a detectable amount of

 3-4 methylenedioxymethamphetamine (MDMA), commonly referred to as “Ecstasy”

 (Count 1); possession with intent to distribute less than 50 kilograms of marijuana (Count

 3); possession of a firearm in furtherance of a drug trafficking crime (Counts 8 and 9);

 and possession of ammunition by a convicted felon (Count 10). (See id.)

       Movant entered a plea of not guilty and the case was tried before a jury. Count 9

 was dismissed during trial and the jury found Kemp guilty of the remaining offenses.

 (Cr-D.E. 950.) The Court adjudicated Movant guilty of the subject offenses and he was

 sentenced as a career offender to a total term of imprisonment of 420 months’

 incarceration, consisting of 360 months as to Count 1 to run concurrently with 120

 months as to Counts 3 and 10, and a consecutive 60 month term as to Count 8. (Cr-D.E.

 1104, 1250.)

       Movant, along with seven of his co-defendants, appealed his convictions and

 sentences.   See Gray, 544 F. App’x 870.            The Eleventh Circuit affirmed Movant’s

 convictions and sentences (and those of his co-defendants) by written opinion dated

 November 15, 2013. See id. Three of Movant’s co-defendants filed a petition for writ of



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                Citations to the criminal docket will hereafter be denoted (Cr-D.E. __).
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 certiorari in the United States Supreme Court, but Movant did not.2 Movant filed the

 instant 2255 Motion on April 29, 2015. (D.E. 1.)

        On February 19, 2016, Judge White issued his Report recommending that the

 Court dismiss the Motion as time-barred. (D.E. 27 at 21.) He found that Movant’s

 judgment of conviction became final on February 13, 2014, when the ninety-day period

 to file a petition for writ of certiorari expired. (Id. at 9.) Pursuant to 28 U.S.C. § 2255(f),

 Movant had one year from that date—specifically, February 13, 2015—to timely file a

 2255 Motion. (See id.) However, Movant did not file the instant Motion until April 29,

 2015—more than two months after the applicable deadline. (See id.)

        Judge White considered and rejected each of Movant’s arguments as to why his

 Motion should be considered timely filed.          (See id. at 8-19.)      Only one of those

 arguments is relevant here: specifically, Movant argues that he filed a petition for writ of

 certiorari in the United States Supreme Court, and that petition was denied on May 28,

 2014. (See Obj. at 1; Report at 8-9.) Judge White found that three of Movant’s co-

 defendants—Shaheed Rashard Thompson, Artrell Terrance Gray, and Antwan Roshax

 Gray—filed petitions for writ of certiorari, but Movant did not.             Shaheed Rashard

 Thompson’s petition was denied March 24, 2014, Thompson v. United States, No. 13-

 8797, 134 S. Ct. 1571 (Mar. 24, 2014), and was entered on the Court’s criminal docket on

 March 31, 2014, (Cr-D.E. 1361). Antwan Roshax Gray and Artrell Terrance Gray’s




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               As will be discussed infra, Movant believes that he did file a Petition for Writ of
 Certiorari.
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 petition was denied May 27, 2014, Gray v. United States, 134 S. Ct. 2686 (May 27,

 2014), and was entered on the Court’s criminal docket on May 28, 2014, (Cr-D.E. 1362).

        Movant’s belief that he filed a petition for writ of certiorari is based upon an email

 from his defense attorney to his mother, dated August 11, 2015. (See D.E. 22 at 16.)

 That email states:

        In Dexter’s appeal, there was a petition for certiorari filed with the US
        Supreme Court. That petition was filed from the very same appeal and very
        same district court case (12-10990 for the appeal and 10-20410 for the
        district court case) as Dexter’s. If the Supreme Court had granted certiorari
        and reversed the convictions for the reasons argued in the petition, I believe
        that relief would have affected Dexter’s conviction. The Supreme Court
        denied the petition for certiorari on May 28, 2014. Dexter filed his habeas
        petition less than a year thereafter. Under Clay v. United States, 537 US
        416, the petition should be deemed timely. The government’s argument
        fails to recognize that there was a petition for certiorari filed in Dexter’s
        case.

 (See id.) As Judge White noted in his Report, “[t]he now-relied upon correspondence,

 sent subsequent to the filing of the instant §2255 motion, does not state that a petition for

 writ of certiorari was filed by Kemp, through counsel or pro se.” (Report at 8-9.) Rather,

 “[t]he correspondence merely indicates that a petition for certiorari had been filed from

 the Eleventh Circuit’s opinion.” (Id. at 9.) The date mentioned in the email corresponds

 with the date the Supreme Court’s denial of Antwan and Artrell Gray’s petition for writ

 of certiorari was entered on the criminal docket. (See id.; see also Cr-D.E. 1362.) Judge

 White’s “full and careful review of the records of this Court and the records of the

 Eleventh Circuit Court of Appeals has shown that no petition for writ of certiorari was

 ever filed by Kemp.” (Report at 9.) “Any possible belief on the part of Kemp and/or

 appellate counsel that Kemp had filed a petition for writ of certiorari is erroneous.” (Id.)

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        On April 11, 2016, Movant filed his Objections to Judge White’s Report. (D.E.

 30.)   The only finding/conclusion Movant challenges is Judge White’s finding that

 Movant filed no petition for writ of certiorari. (Id. at 1.) In support, he cites the same

 email from defense counsel to Movant’s mother that Judge White considered. (Id.)

        Upon receipt of the Magistrate Judge’s Report and Petitioner’s Objections, the

 Court must “make a de novo determination of those portions of the report or specified

 proposed findings or recommendations to which objection is made.”            28 U.S.C. §

 636(b)(1); accord Fed. R. Civ. P. 72(b)(3). The district court must conduct a de novo

 review of any part of the Report that has been “properly objected to.” Fed. R. Civ. P.

 72(b)(3). “Parties filing objections to a magistrate’s report and recommendation must

 specifically identify those findings objected to.      Frivolous, conclusive, or general

 objections need not be considered by the district court.” Marsden v. Moore, 847 F.2d

 1536, 1548 (11th Cir. 1988); see United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir.

 2009) (“[A] party that wishes to preserve its objection must . . . pinpoint the specific

 findings that the party disagrees with”). “[P]ortions of the R & R that are not objected to

 will be evaluated by the district court judge under a clearly erroneous standard of

 review.” Cuevas on Behalf of Juarbe v. Callahan, 11 F. Supp. 2d 1340, 1342 (M.D. Fla.

 1998) (citation omitted); see also Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir.

 2006). The Court “may accept, reject, or modify, in whole or in part, the findings or

 recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1).

        Upon de novo review of the Report, Objections, the record in this case, the record

 in the criminal case, and the appellate docket, the Court finds that Movant did not file a

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 writ of certiorari in the Supreme Court. (See Case No. 10-20410-Cr-Lenard (S.D. Fla.);

 Case No. 12-10990 (11th Cir.).) Consequently, his judgment of conviction became final

 on February 13, 2014, when the ninety-day period to file a petition for writ of certiorari

 expired. Pursuant to 28 U.S.C. § 2255(f), Movant had one year from that date to timely

 file a 2255 Motion. However, Movant did not file the instant Motion until April 29,

 2015—more than two months after the applicable deadline. As such, the Motion is

 untimely and must be dismissed as time-barred.3 See 28 U.S.C. § 2255(f).

        Accordingly, it is ORDERED AND ADJUDGED that:

        1.     The Report of the Magistrate Judge (D.E. 27) issued February 19, 2016 is

               ADOPTED;

        2.     Dexter Earl Kemp’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

               or Correct Sentence is DISMISSED as time-barred;

        3.     A Certificate of Appealability SHALL NOT ISSUE;

        4.     All pending motions are DENIED AS MOOT; and

        5.     This case is now CLOSED.

        DONE AND ORDERED in Chambers at Miami, Florida this 30th day of

 September, 2016.


                                            ____________________________________
                                            JOAN A. LENARD
                                            UNITED STATES DISTRICT JUDGE

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                To the extent such a finding is necessary, the Court finds that Judge White’s
 unobjected-to findings and conclusions are not clearly erroneous. See Cuevas, 11 F. Supp. 2d at
 1342 (“[P]ortions of the R & R that are not objected to will be evaluated by the district court
 judge under a clearly erroneous standard of review.”); see also Macort, 208 F. App’x at 784.
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